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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CARLOS VEGA and
JOSEPH WHITEHEAD,
                Plaintiffs                                          CIVIL ACTION
          v.
                                                                    No. 19-4039
CITY OF PHILADELPHIA and
LAWREN CE KRASNER,                                                  FILED UNDER SEAL
                Defendants

                                        MEMORANDUM

PRATTER,J.                                                                  SEPTEMBER!2,2021

          Carlos Vega and Joseph Whitehead contend that their employer, the City of Philadelphia's

District Attorney's Office, led by District Attorney Lawrence Krasner, unlawfully terminated their

employment based on their age. The City and Mr. Krasner filed a motion for summary judgment,

claiming that Mr. Vega and Mr. Whitehead cannot show that Mr. Krasner' s reasons for terminating

their employment were a pretext for discrimination. Because both Mr. Vega and Mr. Whitehead

have presented evidence to establish a genuine dispute on this point, summary judgment must be

denied.

                                           Background

          Mr. Vega and Mr. Whitehead worked as prosecutors in the City of Philadelphia's District

Attorney's Office for several decades. Mr. Vega began working as a prosecutor in 1982 and was

promoted to the Homicide Unit in 1987. Compl.        ~~   22, 25. Mr. Whitehead was hired as an

Assistant District Attorney in 1989 and assigned to the Homicide Unit in 2014. Compl. ~~ 31, 33.

Mr. Krasner was elected as the Philadelphia County District Attorney and took office on January

2, 2018. Three days after taking office, Mr. Krasner terminated the employment of 30 attorneys,

including Mr. Vega and Mr. Whitehead.



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        The letter informing Mr. Vega and Mr. Whitehead of this decision did not provide a reason

for the terminations. Compl. at 2. Mr. Krasner has since endeavored to provide several reasons

for each termination. In his response to a complaint filed by Mr. Vega with the Pennsylvania

Human Relations Commission, Mr. Krasner stated that he "had been able to conduct what

essentially amounted to a thirty-year job interview" of those whose employment was terminated

including "extensive opportunities to observe and assess their professional competence, demeanor,

and ethics." Doc. No. 40-13 Ex. 22          ~   2. Mr. Krasner did not review either Mr. Vega's or Mr.

Whitehead's personnel file "because he did not have confidence that the files contained complete,

reliable, or helpful information." Doc. No. 34-3        ~   7.

       In his deposition for this case, two and a half years after the terminations, Mr. Krasner

testified that he terminated Mr. Vega's employment based on Mr. Vega's conduct in a 2016 capital

homicide trial. Doc. No. 40-1   ~   22. This was the only case that Mr. Krasner, as a defense attorney,

tried to a verdict opposite Mr. Vega, but it was a "gut-wrenching" case in which Mr. Krasner

alleges that Mr. Vega engaged in several forms of unethical behavior. Id.             ~~   19-20, 22-23.

Specifically, Mr. Krasner alleges that Mr. Vega abused pretrial discovery procedures, improperly

contacted two witnesses and misrepresented these contacts to the Court, reneged on a prior

agreement on witness identification testimony, and provided late disclosure of mitigation evidence

in the death penalty phase. Id.     ~   23. In his deposition testimony, Mr. Krasner also stated that he

based his decision to terminate Mr. Vega on the fact that he witnessed Mr. Vega sexually harass

his colleague's paralegal during the trial. Doc. No. 34-4 Ex. 3, at 303:5-304:16.

       In discussing his decision to terminate Mr. Whitehead's employment, Mr. Krasner said that

he based his decision on Mr. Whitehead's "extreme" prosecutorial approach, "very cold"

demeanor, and "profoundly different philosophy." Doc. No. 34-4 Ex. 3, at 385:23-24, 386:17-



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20. Mr. Krasner stated that he also relied on the opinion of an advisor, Michael Giampietro, in

assessing Mr. Whitehead's reputation and could not recall speaking with anyone else about Mr.

Whitehead. Doc. No. 34-4 Ex. 3, at 384:24-385:12.

        During Mr. Krasner's political campaign for District Attorney, he reportedly made several

comments in media interviews about his approach to personnel decisions if elected District

Attorney. Mr. Krasner stated that "people who are going to be made to leave ... will tend to be

my generation, people who started in this business 30 years ago." Doc. No. 34-5, at 121. Mr.

Krasner also stated that the "old guard ... needs to go", Doc. No. 34-5, at 128, and that "what we

are going to see is broad support among a lot of younger AD A's, but we are going to see that there

are some people in there whose vision for a DA's Office is so entrenched that they are unwilling

to embrace a new one" who "will be better served working somewhere else", Doc. No. 34-5, at

130-31.

        When Mr. Krasner requested their resignations on January 5, 2018, Mr. Vega and Mr.

Whitehead were 61 and 64 years old, respectively.           Compl.   ,r,r   25, 31.   Mr. Vega and Mr.

Whitehead brought age discrimination claims against the City of Philadelphia under the Age

Discrimination in Employment Act ("ADEA'') and the Philadelphia Human Relations Act, 43 P.S.

§ 951, et seq. ("PHRA"). 1 The City of Philadelphia and Mr. Krasner then moved for summary

judgment on all claims.




1
  The City of Philadelphia and Mr. Krasner moved to consolidate this case with other cases involving age
discrimination claims based on terminations shortly after Mr. Krasner took office as District Attorney.
The Court denied the motion to consolidate.

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                                         LEGAL STANDARDS


I.      Summary Judgment

        A court can grant a motion for summary judgment if the movant can show "that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law."

Fed. R. Civ. P. 56(a). A "genuine" dispute exists "if the evidence is such that a reasonable jury

could return a verdict for the nonmoving party." Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986). A factual dispute is "material" if it "might affect the outcome of the suit under the

governing law." Id. "Under Rule 56, the Court must view the facts and all reasonable inferences

in the light most favorable to the non-moving party." Cridland v. Kmart Corp., 929 F. Supp. 2d

377, 384 (E.D. Pa. 2013).       But "[u]nsupported assertions, conclusory allegations, or mere

suspicions are insufficient to overcome a motion for summary judgment." Betts v. New Castle

Youth Dev. Ctr., 621 F.3d 249,252 (3d Cir. 2010). "Only disputes over facts that might affect the

outcome of the suit under the governing law will properly preclude the entry of summary

judgment." Anderson, 477 U.S. at 248. "Summary judgment is appropriate if the non-moving

party fails to rebut by making a factual showing 'sufficient to establish the existence of an element

essential to that party's case, and on which that party will bear the burden of proof at trial."' Power

v. Lockheed Martin Corp., 419 F. Supp. 3d 878, 888-889 (E.D. Pa. 2020) (quoting Celotex Corp.

v. Catrett, 477 U.S. 317, 322 (1986)).

II.    Age Discrimination

       The ADEA prohibits an employer from discriminating "against any individual with respect

to his compensation, terms, conditions, or privileges of employment, because of such individual's

age." 29 U.S.C. § 623(a)(l). The PHRA also prohibits an employer from discriminating on the

basis of age. 43 Pa. Stat. § 955(a). A plaintiff bringing an age discrimination claim "must prove



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by a preponderance of the evidence (which may be direct or circumstantial), that age was the 'but-

for' cause of the challenged employer decision." Gross v. FBL Fin. Servs., Inc., 557 U.S. 167,

177-78 (2009).

        Courts in the Third Circuit analyze claims brought under the ADEA and PHRA using the

same burden-shifting framework developed in McDonnell Douglas Corp. v. Green, 411 U.S. 792

(1973). See Willis v. UPMC Children's Hosp. of Pittsburgh, 808 F.3d 638, 643 (3d Cir. 2015)

(stating that "the interpretation of the PHRA is identical to that of federal anti-discrimination laws,

including the ADEA''); Smith v. City of Allentown, 589 F.3d 684, 691 (3d Cir. 2009) (approving

"continued application of the McDonnell Douglas paradigm in age discrimination cases"). The

McDonnell Douglas framework proceeds in three steps. The plaintiff faces the initial burden to

establish a prima facie case of discrimination. Then, if a prima facie case is established, the burden

shifts to the defendant "to articulate some legitimate, nondiscriminatory reason" for the adverse

employment action. McDonnell Douglas, 411 U.S. at 802. If such a reason is offered, the plaintiff

must then prove by a preponderance of the evidence that the proffered reasons were "not its true

reasons, but were a pretext for discrimination." Texas Dep't ofCmty. Affs. v. Burdine, 450 U.S.

248, 253 (1981 ).

       At the summary judgment stage, the Court must draw factual inferences in the non-moving

parties' favor. See Doe v. CARS Prat. Plus, Inc., 527 F.3d 358, 362 (3d Cir. 2008). Summary

judgment should "be used sparingly in employment discrimination cases," particularly "when ...

intent is at issue." Id. at 369; Goosby v. Johnson & Johnson Med., Inc., 228 F.3d 313,321 (3d Cir.

2000) (quoting Gallo v. Prudential Residential Servs., Ltd. P'ship, 22 F.3d 1219, 1224 (2d Cir.

1994)). To survive at the summary judgment stage, a non-movant need only show that "sufficient

evidence support[ s] the claimed factual dispute" and a judge or jury must resolve "the parties'



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differing versions of the truth" at trial. Oakley v. Orthopaedic Assocs. of Allentown, Ltd., 742 F.

Supp. 2d 601, 604 (E.D. Pa. 2010) (quoting Jackson v. Univ. of Pittsburgh, 826 F.2d 230, 233 (3d

Cir. 1987)).

                                            DISCUSSION


        The City and Mr. Krasner do not dispute, for the purposes of summary judgment, that both

Mr. Vega and Mr. Whitehead have established a prima facie case of age discrimination. However,

the City and Mr. Krasner assert purportedly non-discriminatory motives for Mr. Krasner's

termination of each attorney. Mr. Vega and Mr. Whitehead, responding to different alleged

motives, each contend that Mr. Krasner's proffered justifications are mere pretext and raise

disputed issues of fact. In order to defeat summary judgment when an employer asserts a non-

discriminatory reason for its action, the burden shifts back to the plaintiff to identify "some

evidence, direct or circumstantial, from which a factfinder could reasonably either (1) disbelieve

the employer's articulated legitimate reasons; or (2) believe that an invidious discriminatory reason

was more likely than not a motivating or determinative cause of the employer's action." Fuentes

v. Perskie, 32 F.3d 759, 764 (3d Cir. 1994). The Court finds that material factual disputes at issue

do preclude the Court from granting summary judgment on both sets of claims.

       A plaintiff can defeat a summary judgment motion by introducing sufficient evidence to

establish a genuine dispute of material fact as to whether "the employer unlawfully discriminated

against the plaintiff and was merely trying to conceal its illegal act with the articulated reasons."

Id. at 764. A plaintiff can demonstrate pretext by introducing evidence showing that the proffered

reason "was either a post hoc fabrication or otherwise did not actually motivate the employment

action." Id. However, "the plaintiff cannot simply show that the employer's decision was wrong




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or mistaken, since the factual dispute at issue is whether discriminatory animus motivated the

employer, not whether the employer is wise, shrewd, prudent, or competent." Id. at 765.

        Evidence of pretext can include "inconsistencies and implausibilities in the employer's

proffered reasons for [the termination] which could support an inference that the employer did not

act for nondiscriminatory reasons." Sorba v. Pa. Drilling Co., 821 F.2d 200, 205 (3d Cir. 1987).

When a plaintiff shows that the reasons given for termination were not consistent throughout the

proceedings, "this may be viewed as evidence tending to show pretext, though of course it should

be considered in light of the entire record." Abramson v. William Paterson Coll. ofNJ, 260 F.3d

265, 284 (3d Cir. 2001). In considering the broader context, the Court must determine whether

such "evidence contradict[s] the core facts put forward by the employer as the legitimate reason

for its decision" such that a reasonable jury could infer that the employer did not act for the non-

discriminatory reason provided. Tomasso v. Boeing Co., 445 F.3d 702, 706 (3d Cir. 2006).

I.     Mr. Vega's Claims

       Mr. Vega argues that inconsistencies in explanations proffered by Mr. Krasner support an

inference that the purported non-discriminatory reasons are pretext. Mr. Krasner and the City

argue that Mr. Krasner's reasons have been consistent and simply provide additional detail to

support the same rationale as required by subsequent proceedings. See Doc. No. 43, at 8. To the

extent that there are any inconsistencies, Mr. Krasner and the City argue that these inconsistencies

would relate to tangential points rather than "core facts." Doc. No. 43, at 3 n.2.

       At the time he received Mr. Krasner's resignation request, Mr. Vega was not given any

reason for his termination. Then, in Mr. Krasner's response to Mr. Vega's Pennsylvania Human

Relations Commission complaint, Mr. Krasner stated that he fired Mr. Vega after he was able to

observe and assess his behavior during a "thirty-year job interview." Doc. No. 40-13 Ex. 22     ~   2.



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In his deposition over two years later, Mr. Krasner testified that he litigated only one case that

went to trial involving Mr. Vega, in 2016. Doc. No. 34-4 Ex. 3, at 362:23-363:9. Mr. Krasner

stated that he based his decision on Mr. Vega's allegedly unethical and abusive behavior as

opposing counsel and sexual harassment of a paralegal during the 2016 trial. Doc. No. 40-1       ,r 23;
Doc. No. 34-4 Ex. 3, at 303:5-304:16.

        However, Mr. Vega emphasizes that after the paralegal in question submitted a declaration

refuting Mr. Krasner's allegations of Mr. Vega's harassment, see Doc. No. 40-15 Ex. 24, the City

and Mr. Krasner did not raise the sexual harassment allegation as a basis for Mr. Krasner's decision

in their summary judgment briefing, Doc. No. 40-1 Resp.      ,r 23(b )(2).   Instead, the City and Mr.

Krasner argue that whether Mr. Krasner in fact witnessed Mr. Vega sexually harass a paralegal is

not a material fact for summary judgment. Doc. No. 43, at 3 n.2. They also argue that testimony

by colleagues including Mr. Giampietro supports Mr. Krasner's genuinely held opinion of Mr.

Vega following the 2016 trial. Id. at 2. Mr. Vega challenges this evidence by noting that Mr.

Giampietro recommended that Mr. Krasner retain Mr. Vega. Doc. No. 40, at 12. Mr. Vega also

argues that the court did not sanction him in the 2016 trial for any misconduct and that the

subsequent convictions were affirmed on appeal. Id. at 11-12.

        "When the defendant's intent has been called into question, the matter is within the sole

province of the factfinder." Jalil v. Avdel Corp., 873 F.2d 701, 707 (3d Cir. 1989). In such an

instance, the jury must "assess the employer's credibility with respect to its proffered reason[ s]."

Sorba, 821 F.2d at 205. The "honesty or legitimacy" of the employer's narrative is a "core fact[]"

in determining whether a plaintiff has asserted sufficient evidence of pretext to survive summary

judgment. West v. Northampton Clinic Co., LLC, 783 F. App'x 118, 123 (3d Cir. 2019). While

Mr. Krasner is permitted to terminate an at-will employee based on a mistaken non-discriminatory



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belief, "inconsistencies and implausibilities in the employer's proffered reasons for discharge" can

preclude summary judgment for the employer. Sorba, 821 F.2d at 205. The City and Mr. Krasner

attempt to distinguish the cases cited by Mr. Vega and Mr. Whitehead as cases involving a

"wholesale change in the primary rationale for the employer's decision." Doc. No. 43, at 8. Mr.

Krasner, however, has "wholesale" abandoned an allegation of sexual harassment as a basis for

his decision to terminate Mr. Vega's employment. Because Mr. Krasner has provided shifting

reasons for his decision, the issue of Mr. Krasner's intent in terminating Mr. Vega's employment

is a factual dispute for the jury.

II.     Mr. Whitehead's Claims

        Mr. Whitehead argues that Mr. Krasner's non-discriminatory justifications are a post hoc

justification rather than his true motivation at the time of his decision. As with Mr. Vega, Mr.

Whitehead was not given any reason for his termination on January 5, 2018. 2 Then, in Mr.

Krasner's communications with the Pennsylvania Human Relations Commission, Mr. Krasner

stated that he fired Mr. Whitehead after he was able to observe and assess his behavior during a

"thirty-year job interview." Doc. No. 40-26 Ex. 35      ~   2.

        At his deposition, Mr. Krasner stated that he had "some matters in juvenile court many

years ago" with Mr. Whitehead, Doc. No. 34-4 Ex. 3, at 387:7-12, and discussed one case from

the 1980s or 1990s in which he recalled Mr. Whitehead pursuing an "extreme" approach to

sentencing for a juvenile robbery, id. at 388:21-389:12, 391:10-22. Mr. Krasner testified that he

spoke with Mr. Giampietro about Mr. Whitehead before terminating Mr. Whitehead's employment

and was unable to identify any other discussions regarding Mr. Whitehead before the termination.


2
  At oral argument, Mr. Whitehead argued that while "there is no legal obligation to proffer a reason at
the time of termination," H'rng Tr. at 27:25-28:6, a lack of documentation concerning the termination can
serve as evidence of pretext, citing Johnson v. Verizon Servs. Corp., No. CV 16-1023, 2017 WL 1397240
(E.D. Pa. Apr. 18, 2017).
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Doc. No. 34-4 Ex. 3, at 385:5-12. Mr. Giampietro, in turn, testified that "[t]here was no discussion

about Joe Whitehead" before the terminations and that his testimony covered only what he would

have told Mr. Krasner had he been asked. Doc. No. 34-4 Ex. 4, at 57:11-16. Similarly, the City

and Mr. Krasner cite Robert Listenbee's testimony about Mr. Whitehead's reputation for seeking

long juvenile sentences, but Mr. Whitehead argues that this is a post hoc rationalization because

Mr. Listenbee was not hired until February 2018-after the terminations-and did not discuss Mr.

Whitehead with Mr. Krasner before that point. Doc. No. 40, at 13-14; Doc. No. 40-1 Resp.                         1
53(c); Doc. No. 40-22 Ex. 31, at 14:18-22. 3

         In addition, the City and Mr. Krasner assert that former Chief of Staff Arnn Prabakaran

"specifically recalls a discussion about Mr. Whitehead's excessive sentencing recommendations

and Mr. Krasner's sentencing philosophy before the January 5, 2018 terminations." Doc. No. 34-

2, at 12. However, Mr. Prabakaran testified that he could not recall Mr. Whitehead's sentencing

philosophy being discussed at a particular meeting, Doc. No. 34-4 Ex. 5, at 237:5-11, and that

Mr. Krasner did not have conversations with him specifically about the decision regarding whether

to keep Mr. Whitehead, id. at 236:2-11. Mr. Krasner himself could not recall speaking with

anyone besides Mr. Giampietro about Mr. Whitehead. Doc. No. 34-4 Ex. 3, at 385:5-12.

        Mr. Krasner also cites Mr. Whitehead's juvenile sentencing recommendations to

corroborate his opinion of Mr. Whitehead's extreme prosecutorial strategy. Doc. No. 34-2, at 13

n.4. However, as the City and Mr. Krasner concede, "Mr. Krasner did not have access to these

memoranda when he made the decision to terminate Mr. Whitehead." Id. A jury could certainly



3 The City and Mr. Krasner also cite the testimony of Mr. Whitehead's prior supervisor, Brian Zarallo, that Mr.
Whitehead's sentencing recommendations tended to be "on the heavier end." Doc. No. 34-2, at 13. Mr. Whitehead
refutes this characterization by citing other portions of Mr. Zarallo's testimony, including a statement that Mr.
Whitehead "had excellent prosecutorial judgment." Doc. No. 40-1 Resp.~ (51 )(e). Regardless, Mr. Krasner did not
assert that he relied on Mr. Zarallo's opinion in deciding to terminate Mr. Whitehead's employment. Doc. No. 34-4,
at 331:21-22.

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draw inferences about the validity of Mr. Krasner's claim that he was motivated by Mr.

Whitehead's juvenile sentencing philosophy rather than his age from any of the evidence cited by

the City and Mr. Krasner. However, Mr. Whitehead has introduced a genuine dispute of fact

regarding whether his sentencing approach was the true motivation or a post hoc rationalization

for a discriminatory termination.

III.    Mr. Krasner's Comments

        Mr. Vega and Mr. Whitehead have called Mr. Krasner's non-discriminatory explanations

into question by introducing interview statements regarding his approach to personnel decisions

as part of their prima facie case of age discrimination. "[I]f a plaintiff has come forward with

sufficient evidence to allow a finder of fact to discredit the employer's proffered justification, she

need not present additional evidence of discrimination beyond her prima facie case to survive

summary judgment." Burton v. Teleflex, Inc., 707 F.3d 417, 427 (3d Cir. 2013). This evidence

includes Mr. Krasner's statements that "people who are going to be made to leave ... will tend to

be my generation, people who started in this business 30 years ago", Doc. No. 34-5, at 121, and

that, in contrast to new prosecutors "coming mid-career or straight out of law school", the "old

guard ... needs to go", Doc. No. 34-5, at 128.

        The City and Mr. Krasner argue that Mr. Krasner' s interview comments are "cherry-

picked" "stray remarks" that require full context. Doc. No. 34-2, at 6; Doc. No. 43, at 6. Mr.

Krasner testified that he intended the "old guard" comments to refer to Napoleon's soldiers who

were entrenched and resistant to change. Doc. No. 34-3 Ex. 3, at 563:6-12. In support of this

argument, the City and Mr. Krasner emphasize additional language surrounding Mr. Krasner' s

"old guard" comments that "distinguishes prosecutors based on philosophy not age." Doc. No.

43, at 10-11 ("As I said, I think there is an old guard, it certainly isn't[] everyone above a certain



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age, that's not the case [}, but [thereJ is an old guard there.") (emphasis in original). 4 Even this

language, however, could be interpreted by a reasonable jury as invoking age-based stereotypes,

particularly when read in conjunction with other comments made by Mr. Krasner. See, e.g., Doc.

No. 34-5, at 121 ("The ones who will leave will tend to be my generation, people who started in

this business 30 years ago .... "). Mr. Krasner may very well be a student of French history, but

he and the City are the movants, which means that inferences are drawn in Mr. Vega's and Mr.

Whitehead's favor. A reasonable jury could credit Mr. Krasner's interview statements as evidence

of discriminatory intent in terminating Mr. Vega's and Mr. Whitehead's employment. 5

        When a court "only has before it dueling narratives" as to the reason for termination of a

plaintiffs employment, "a genuine dispute of material fact remains as to pretext." Johnson v.

Verizon Servs. Corp., No. 16-1023, 2017 WL 1397240, at *4 (E.D. Pa. Apr. 18, 2017). The issue

of whether Mr. Krasner' s proffered reasons for termination of Mr. Vega's and Mr. Whitehead's

employment are mere pretext is a genuine dispute of material fact that precludes summary

judgment.




4
  The City and Mr. Krasner also cite a Seventh Circuit case, Turbergen v. St. Vincent Hosp. & Health
Care Cent., 517 F.3d 470,474 (7th Cir. 2008). Doc. No. 34-2, at 6. However, the Seventh Circuit in
Turbergen stated that "the context in which the comment was made makes it even more unlikely that [the
employer] was thinking about Tubergen at all, much less his age" because the "old guard" comment was
made about a hospital area in which Tubergen did not work. Id. at 474. Mr. Whitehead and Mr. Vega, in
contrast, were in fact attorneys in the District Attorney's Office and the City and Mr. Krasner do not
dispute that Mr. Krasner made these comments about this office.
5
  Mr. Krasner also argues that his January 5, 2018 terminations included 10 employees under the age of
40, out of a total of 30 terminations, which "nullifies any conceivable inference of age bias based on Mr.
Krasner's public statements." Doc. No. 43, at 10. Mr. Vega and Mr. Whitehead counter that between
July 2018 and September 2019, Mr. Krasner hired 13 8 new attorneys, 12 7 of whom were under the age of
40. These competing statistics also create an issue of "dueling narratives." Johnson v. Verizon Servs.
Corp., No. 16-1023, 2017 WL 1397240, at *4 (E.D. Pa. Apr. 18, 2017).

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                                       CONCLUSION

       For the foregoing reasons, the Court denies the City and Mr. Krasner's motion for summary

judgment with respect to the ADEA and PHRA claims. An appropriate order follows.




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